ENTERED ON DOCKET

 

R.55
AO 245B (NCMD Rev. 09/11) Sheet 1 - Judgment in a Criminal Case
AUG 22 2014 1 toi ae
1 United States District Court Ay

BY Oo Middle District of North Carolina

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL

* Case Number: 1:14-CR-00023°8

DALIA MARQUEZ BERNAL

 

USM Number: 30041-057

John Carlyle Sherrill, Ii

 

Defendant's Attorney

THE DEFENDANT:
pleaded guilty to count(s) 3 and 5.
[J pleaded nolo contendere to count(s) which was accepted by the court.
L] was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18:924 (c) (1) (A) (i) & 2 Brandishing a firearm during and in relation February 8, 2013 3

to a crime of violence.
18:924 (c) (1) (A) (ii) & 2 Brandishing a firearm during and in relation February 10, 2013 5

to a crime of violence.

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

[1 The defendant has been found not guilty on count(s)
Xx] Count(s) 1, 2, 4, 6, 7, 8, 9, and 10 are dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s economic
circumstances.

August 14, 2014

Date of Imposition of Judgment

Si{naturp’of Judge I

James A. Beaty, Jr., United States District Judge

 

Name & Title of Judge AUG 9 9 201

Date

Case 1:14-cr-00023-JAB Document 324 Filed 08/22/14 Pane 1 of 6
AO 245B (NCMD Rev. 09/11) Sheet 2 - Imprisonment Page 2 of 6

 

DEFENDANT: DALIA MARQUEZ BERNAL
CASE NUMBER: 1:14-CR-00023-2

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
384 months.

[84 months under Count 3 to run consecutively to any undischarged sentence the defendant is presently serving; 300 months under
Count 5 to run consecutively to Count 3]

The court makes the following recommendations to the Bureau of Prisons: that the defendant be housed in a Bureau of Prisons facility
as close as possible to her family or to her place of residence.

The defendant is remanded to the custody of the United States Marshal.

L] The defendant shall surrender to the United States Marshal for this district.
LI at am/pm on

LJ as notified by the United States Marshal.

L] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L] before 2 pm on
L1 as notified by the United States Marshal.

CL] as notified by the Probation or Pretrial Services Office.

RETURN

| have executed this judgment as follows:

Defendant delivered on to at

, with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

BY

 

DEPUTY UNITED STATES MARSHAL

Case 1:14-cr-00023-JAB Document 324 Filed 08/22/14 Pane ? of 6
AO 245B (NCMD Rev. 09/11) Sheet 3 - Supervised Release Page 3 of 6

 

DEFENDANT: DALIA MARQUEZ BERNAL
CASE NUMBER: 1:14-CR-00023-2

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years.

[Five (5) years under Count 3 and five (5) years under Count 5 to run concurrently with Count 3]

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.

The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

LJ The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

xX The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

O The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works,
is a student, or was convicted of a qualifying offense. (Check, if applicable.)

O The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcoho! and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a
felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal

record or personal history or characteristics, and shail permit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement.

Case 1:14-cr-00023-JAB Document 324 Filed 08/22/14 Pane 32 0f 6
 

AO 245B (NCMD Rev. 09/11) Sheet 3c - Imprisonment, Special Conditions Page 4 of 6

 

DEFENDANT: DALIA MARQUEZ BERNAL
CASE NUMBER: 1:14-CR-00023-2

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall provide any requested financial information to the probation officer.

2. The defendant shall notify the probation officer of any material change in her economic circumstances that might affect her ability to pay
restitution, a fine or the special assessment.

3. Upon completion of the custody sentence, the defendant shall surrender to a duly authorized ICE official, in accordance with established
procedures provided by the Immigration and Naturalization Act, 8 U.S.C.§ 1101. If ordered deported, the defendant shall remain outside the
United States during the term of supervision and shall not reenter the United States without the permission of the United States Attorney General
or the Secretary of the Department of Homeland Security.

4. If not ordered deported, the defendant shall submit his person, residence, office, vehicle or any other property under his control to a
warrantless search. Such a search shall be conducted by a United States Probation Officer at a reasonable time and in a reasonable manner,
based upon reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to submit to such a search may be
grounds for revocation; the defendant shall warn any residents that the premises may be subject to searches.

Case 1:14-cr-00023-JAB Document 324 Filed 08/22/14 Pane 4of6
AO 2458 (NCMD Rev. 09/11) Sheet 5 - Criminal Monetary Penalties Page 5 of 6

DEFENDANT: DALIA MARQUEZ BERNAL
CASE NUMBER: 1:14-CR-00023-2

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $200.00 $.00 $700.00
oO The determination of restitution is deferred until .An Amended Judgment in a Criminal Case (AO 245C)

will be entered after such determination.

XX] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Restitution of $700.00 to:

TIENDA HISPANA GUERRERO
$300.00

TIERRA CALIENTE
$400.00

L] Restitution amount ordered pursuant to plea agreement $

[-] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f}. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[|] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
C1) the interest requirement is waived for the OD sfine restitution.

[] the interest requirement forthe (1 fine O_srestitution is modified as follows:

Case 1:14-cr-00023-JAB Document 324 Filed 08/22/14 Pane 5 of 6
AO 245B (NCMD Rev. 09/11) Sheet 6 - Schedule of Payments Page 6 of 6

DEFENDANT: DALIA MARQUEZ BERNAL
CASE NUMBER: 1:14-CR-00023-2

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

AM Lump sum payment of $ due immediately, balance due
[] not later than ,or

C1 in accordance with CJ C, O D, C] E, or CJ F below; or

B Payment to begin immediately (may be combined with L] c, (J D, or F below); or

c OU Payment inequal_ ss (e.g. weekly, monthly, quarterly) installments of $__ over a period of | (e.g., months or years),
to commence (e.g., 30 or 60 days) after the date of this judgment: or

D LJ Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

EO Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.

The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F Special instructions regarding the payment of criminal monetary penalties:
If the defendant is unable to pay the criminal monetary penalties immediately, they may be paid through the Inmate Financial
Responsibility Program. In the event the entire amount of criminal monetary penalties imposed is not paid prior to the
commencement of the term of supervised release, the defendant shall make payments in equal, monthly installments of $50.00 to
begin 60 days after commencement of the term of supervised release and continuing during the entire term of supervised release or
until paid in full.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are to be made to the Clerk of Court, United States District Court for the Middle District of North Carolina, 324 West
Market Street, Greensboro, NC 27401-2544, unless otherwise directed by the court, the probation officer, or the United States Attorney.
Nothing herein shall prohibit the United States Attorney from pursuing collection of outstanding criminal monetary penalties.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

CL) Joint and Several

Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.

[] The defendant shall pay the cost of prosecution.
L] The defendant shall pay the following court cost(s):

L] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

Case 1:14-cr-00023-JAB Document 324 Filed 08/22/14 Pane 6 of 6
